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   Attorney for Plaintiff WAYMO LLC
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 8
                             UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
                                  SAN FRANCISCO DIVISION
11
     WAYMO LLC,                                CASE NO.: 17-cv-00939-WHA
12
                      Plaintiff                NOTICE OF WITHDRAWAL OF
13               v.                            ATTORNEY JOHN M. NEUKOM
14 UBER TECHNOLOGIES, INC. AND
   OTTOMOTTO LLC,
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                  Defendants
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     NOTICE OF WITHDRAWAL                                      Case No.: 17-cv-00939-WHA
 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2
            PLEASE TAKE NOTICE that John M. Neukom hereby withdraws, effective
 3
     immediately, as attorney of record for WAYMO LLC. All other counsel will remain counsel of
 4
     record for WAYMO LLC.
 5

 6
     DATED: May 3, 2018                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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 8                                        By:               /s/ John Neukom
                                                            Attorney for Plaintiff
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     NOTICE OF WITHDRAWAL                                                   Case No.: 17-cv-00939-WHA
